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                 Exhibit 6
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  politico.com/story/2015/12/trump-threatens-mike-fernandez-defamation-216496


Trump threatens top Bush donor with defamation suit over ‘hater’
ads




As Donald Trump is a public figure, his lawyer could have trouble successfully suing for
defamation. | AP Photo

By Marc Caputo

12/07/2015 02:29 PM EST

Updated: 12/07/2015 05:24 PM EST

Donald Trump’s top lawyer is threatening Jeb Bush’s largest donor to watch what he says in
ads bashing the Republican front-runner — or face a defamation lawsuit.

Trump’s lawyer dashed off the letter Dec. 4 — after POLITICO first reported that Coral
Gables, Florida, billionaire Mike Fernandez planned to take out newspaper ads calling
Trump a demagogic “hater” and a “narcissistic BULLYionaire” — and sent it by Federal
Express to warn the Bush donor about the potential consequences of “directly and
personally attacking my client.”

Fernandez responded by posting the letter on Facebook with this comment: “Only in
America can an immigrant scare a #bullyionaire … If there is any damage being done to the
Trump brand.”
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Alan Garten, the Trump Organization’s general counsel and executive vice president, did not
make a direct threat of immediate action. He did, though, lay down broad parameters for
what would trigger a lawsuit.

By

“Though we believe your decision is fool hearted [sic], please be advised that in the event
your ads contain any false, misleading, defamatory, inaccurate or otherwise tortious
statements or representations concerning Mr. Trump, his business or his brand,” Garten
wrote, “we will not hesitate to seek immediate legal action to prevent such distribution and
hold you jointly and severally liable to the fullest extent of the law for any damages resulting
therefrom ... and will look forward to doing it.”

Because Trump is a public figure, however, he’ll have trouble successfully suing for
defamation.

Fernandez isn’t the first political critic the Trump Organization — not the campaign — has
warned about a potential lawsuit. It similarly threatened the political committee backing Ohio
Gov. John Kasich and the conservative Club for Growth, both of which targeted Trump in
ads.

Trump has a long and litigious history as a businessman, once going so far as to sue
comedian Bill Maher for failing to pay up on a $5 million offer for anyone who could prove
that Trump was not “the spawn of his mother having sex with an orangutan.” Trump also
gained a measure of infamy in his part-time home of Palm Beach, Florida, for warring with
the town over its codes regulating flagpoles and social clubs tied to the Trump-owned Mar-
a-Lago resort. He also was involved in an ongoing suit against Palm Beach International
Airport, the main flight path of which is right over Mar-a-Lago.

“The thing with Trump is that he’s always at war, a man on a mission to get the next thing,
whether it’s the biggest pole, the best social gathering of the season, or the idea that the rest
of America should be calling him ‘Mr. President.’ And woe be to those who get in his way,”
Palm Beach Post columnist Frank Cerabino wrote in a September POLITICO piece about
the New York developer.

On his “Trump Organization” letterhead directed at Fernandez, Garten also listed the Bush-
backing Right to Rise PAC. But that political group, a political committee, has been dormant
ever since Bush announced his candidacy. A similarly named committee, Right to Rise USA
super PAC, hasn’t been, however. Garten likely listed the wrong committee by mistake. A
Trump spokesperson couldn’t be reached for comment.

Regardless, the super PAC had nothing to do with the ads, Fernandez said. The fact that
Fernandez — who contributed $3 million to Right to Rise — felt personally compelled to run
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ads against Trump indicates a level of frustration some donors have had with the
committee’s effectiveness in helping Bush.

For Fernandez, the threat from Trump’s organization was exactly what he was looking for: a
fight. Fernandez, in prior interviews, said he looks forward to comparing his record as a rags-
to-riches Cuban immigrant with that of Trump, who inherited his money and was “born on
third base.” Fernandez later told The Miami Herald that Trump is so bad that he would vote
for Hillary Clinton instead of the Republican if he had to.

After Fernandez first told POLITICO of his plans to run newspaper ads, he was mocked on
social media for using a dead medium to communicate. Some said the attack would be
feckless and unseen.

But Trump’s organization gave it outsize relevance.

In thefull-page Trump-bashing ads Fernandez proposed for papers in Miami, Las Vegas and
Des Moines, Iowa, Fernandez referenced how “Hitler in Germany, Mussolini in Italy and
Peron in Argentina” took advantage of economically hard times and misled the masses.

But despite all the help from Fernandez, Bush distanced himself from his donor this past
weekend in a live interview on ABC News’ “This Week.” In response to questions from host
George Stephanopoulos, Bush said “I don’t” think Trump should be compared to the Axis
powers dictators. And Bush said he’d back Trump if he became the GOP nominee, “but
Donald Trump is not going to be the Republican nominee.”

Bush didn’t disavow Fernandez, and Fernandez — who also favors a rapprochement with
Cuba, unlike Bush — didn’t mind Bush’s distance.

“We will disagree on many issues, but he is still the best man for the job,” Fernandez told
POLITICO. He said he still stands by everything he wrote in the ads, fearing that Trump is a
divisive demagogue — a point that the candidate seemed to drive home later Monday when
he issued a press statement that called for a “total and complete shutdown of Muslims
entering the United States.”

“I worry as I witness whipped-up crowds emboldening and encouraging forked-tongue
hatefulness,” Fernandez says in the ads. “Mr. Trump portrays himself as someone who can
do no wrong, unblemished by almost any human faults — indeed, the paragon of smartest
and greatest. But his words and actions tell us who he really is — a destroyer.”

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